     Case 5:24-cr-00011-MW-MJF Document 36 Filed 08/12/24 Page 1 of 15




        IN THE UNITED STATES DISTRICT COURT FOR THE
               NORTHERN DISTRICT OF FLORIDA
                    PANAMA CITY DIVISION

UNITED STATES OF AMERICA

v.                                                 CASE NO. 5:24cr11/MW

DEAN PADGETT
______________________________

                               TRIAL BRIEF

        COMES Now, the United States of America, by and through the

undersigned Assistant United States Attorneys, and represents that it has

previously discussed the legal and factual issues with an attorney for the

defendant herein pursuant to N.D. Loc. R. 26.2 with respect to those matters

set forth in the rule. Counsel now files this report as required by N.D. Loc. R.

26.2 as follows:

        A. Discovery material provided:

        1. Government:

        The government represents that it has provided the defendant with all

discovery required by the rule, including any known Brady and Giglio

material. It further represents that more discovery was provided than is

required by the rule; this includes supplemental packets of discovery. Further,

all of the government’s evidence was made available to the defense for review
  Case 5:24-cr-00011-MW-MJF Document 36 Filed 08/12/24 Page 2 of 15




in advance of the trial date, and the defense was afforded access to visit the

institutional scene of the crime for its own investigative purposes.

         2. Defendant:

         The defendant has not provided any discovery to the government as of

the date of this filing, but it is anticipated the defense will provide photographs

and videos taken from within the correctional institution for use in its case in

chief.

         B. Stipulations as to evidence and issues regarding jury selection:

         1. The parties have agreed to the authenticity and admission of all

projected exhibits in advance of trial unless otherwise noted herein.

         2. Because of the nature of the instant indictment, and the correctional

institutions located within the Northern District of Florida, the government

requests the Court ask specific questions during voir dire, in addition to its

normal inquiry, as it relates to correctional institutions and potential bias or

preconceived ideas. This would include inquiring as to (a) employment at a

correctional institution, (b) relatives who are employed at a correctional

institution, (c) any strong feelings regarding a correctional officer as a charged

defendant or a prison inmate as a crime victim, and (d) whether anyone

believes it is acceptable to assault a prison inmate solely based upon his/her



                                         2
    Case 5:24-cr-00011-MW-MJF Document 36 Filed 08/12/24 Page 3 of 15




institutional status.

       3. When it comes to indictments of this nature, which is the prosecution

of a law enforcement officer with a prison inmate as the victim, the

government is aware that sometimes arguments are made by the defense,

either explicitly or implicitly, that suggest jury nullification.1 As this Court is

well aware, members of the jury are not empowered to disregard their oaths

and decide a case by ignoring the Court’s instructions. The undersigned

simply request this Court keep such a notion in mind during jury selection and

during its instructions on the law. The law is well-settled that it is improper

for a defendant to suggest in any way that the jury should acquit the defendant

even if it finds the government has met its burden of proof. See United States

v. Trujillo, 714 F.2d 102, 106 (11th Cir. 1983). “Because the jury enjoys no

right to nullify criminal laws, and the defendant enjoys a right to neither a

nullification instruction nor a nullification argument to the jury, the potential



1
   It appears that, in this case, the defendant may attempt to discuss the reputation or
disciplinary history of the victim in this case. See ECF No. 32 at p. 3. However, it is not
relevant to this cause whether or not the victim has a prior disciplinary record or committed
unsavory crimes in the past. Herein, the victim had a dispute with correctional officers
about placing paper over his cell window – this dispute then ended with full compliance;
it was over. It was after that, and there was a break in time, that the defendant then had the
victim handcuffed behind his back and led to a room where the assault took place. The
victim was restrained and compliant at that point – any prior bad acts or history are not
relevant as to whether the defendant assaulted the victim at that moment in time.



                                              3
  Case 5:24-cr-00011-MW-MJF Document 36 Filed 08/12/24 Page 4 of 15




for nullification is no basis for admitting otherwise irrelevant evidence.”

United States v. Funches, 135 F.3d 1405, 1409 (11th Cir. 1998).            The

government does not anticipate the defense will explicitly assert such an

argument, but it is important for all involved in the jury trial process to be

reminded that the jury is bound by the Court’s instructions, and the defense

cannot argue for an acquittal simply because the victim in this case is a prison

inmate and the defendant a law enforcement officer.

      C. Legal issues and case summary:

      1. The government hereby, in advance, moves for the production of

any defense witness statements as provided for in Rule 26.2, Fed. R. Crim.

Procedure. While the government recognizes the defense is not required to

produce a witness statement until after that witness has testified, the

government is making such request, in advance, in order that the defense can

make copies and produce them without unnecessary delay.

      2. Count One - Section 242 of Title 18 is a Reconstruction Era measure

intended to “protect all persons in the United States in their civil rights, and

furnish the means of their vindication.” Screws v. United States, 325 U.S. 91,

98 (1945). To establish a violation of 18 U.S.C. § 242, the government must

show that the defendant (1) while acting under color of law, (2) deprived the



                                       4
  Case 5:24-cr-00011-MW-MJF Document 36 Filed 08/12/24 Page 5 of 15




victim of a right secured or protected by the Constitution or laws of the United

States, and (3) that his actions were willful. 18 U.S.C. § 242; United States v.

Lanier, 520 U.S. 259, 264 (1997) (reciting elements and citing Screws);

United States v. Myers, 972 F.2d 1566, 1569 (11th Cir. 1992) (generally

reciting statute in affirming convictions of law enforcement officers). In felony

cases, the government must also prove one of the additional elements listed in

the statute. See 18 U.S.C. § 242; United States v. Williams, 343 F.3d 423, 434

& n.7 (5th Cir. 2003) (explaining structure of statute). Here, the government

has charged that the constitutional violation resulted in bodily injury to the

victim. See United States v. Livoti, 196 F.3d 322, 327 (2d Cir. 1999) (reciting

bodily injury as element of felony § 242 offense).

      A defendant acts “under color of law” when he exercises power

“possessed by virtue of state law and made possible only because he is clothed

with the authority of state law.” West v. Atkins, 487 U.S. 42, 49 (1988) (quoting

United States v. Classic, 313 U.S. 299, 326 (1941)). “The dispositive issue is

whether the official was acting pursuant to the power [he] possessed by state

authority or acting only as a private individual.” Griffin v. City of Opa-Locka,

261 F.3d 1295, 1303 (11th Cir. 2001) (internal quotations and citation

omitted). A defendant acts under color of law when he acts in his official



                                        5
  Case 5:24-cr-00011-MW-MJF Document 36 Filed 08/12/24 Page 6 of 15




capacity, even if he abuses or misuses his power by going beyond the bounds

of lawful authority. See Hafer v. Melo, 502 U.S. 21, 28 (1991) (explaining, in

analogous § 1983 context, that color of law requirement was designed to

enforce constitutional requirements “against those who carry a badge of

authority of a State and represent it in some capacity, whether they act in

accordance with their authority or misuse it”); Williams v. United States, 341

U.S. 97, 99-100 (1951) (criminal civil rights case holding that misuse of lawful

authority can constitute action taken under color of law); Griffin, 261 F.3d at

1303 (under this standard, “it is firmly established that a defendant . . . acts

under color of law when he abuses the position given to him by the State”).

      Section 242 is not a source of substantive rights; rather, the statute

provides a means for vindicating rights conferred elsewhere. See Lanier, 520

U.S. at 265 (stating, in describing 18 U.S.C. §§ 241 and 242, that “in lieu of

describing the specific conduct it forbids, each statute’s general terms

incorporate constitutional law by reference”); Graham v. Connor, 490 U.S.

386, 393-94 (1989) (interpreting § 242’s civil counterpart). Thus, for Count

One of the Indictment, the government will have to prove the defendant

violated federal law or the Constitution. Herein, because the incident occurred

during the victim’s post-conviction incarceration, the right at issue is in the



                                       6
  Case 5:24-cr-00011-MW-MJF Document 36 Filed 08/12/24 Page 7 of 15




Eighth Amendment to the United States Constitution. Inmates under the care

of our correctional institutions must not be subject to cruel and unusual

punishment such as an unjustified beating. See Hudson v. McMillian, 503

U.S. 1 (1992). The United States Supreme Court has informed us “that the

‘unnecessary and wanton’ infliction of pain…constitutes cruel and unusual

punishment forbidden by the Eighth Amendment . . . among those

‘unnecessary and wanton’ inflictions of pain are those that are ‘totally without

penological justification.’” United States v. Budd, 496 F.3d 517, 531 (6th Cir.

2007) (quoting Hope v. Pelzer, 536 U.S. 728 (2002) (internal citations

omitted)).

      The government also must prove the defendant acted willfully, with the

intent to interfere with a federally protected right. Screws, 325 U.S. at 103; see

also United States v. Brugman, 364 F.3d 613, 616 (5th Cir. 2004). A “willful”

act is one committed either “in open defiance or in reckless disregard” of a

specific and definite constitutional requirement. Screws, 325 U.S. at 105; see

also United States v. House, 684 F.3d 1173, 1199-1200 (11th Cir. 2012). An

act is done willfully if it is “committed voluntarily and purposely with the

specific intent to do something the law forbids. That is to say, with a bad

purpose either to disobey or to disregard the law.” United States v. Garza, 754



                                        7
  Case 5:24-cr-00011-MW-MJF Document 36 Filed 08/12/24 Page 8 of 15




F.2d 1202, 1210 (5th Cir. 1985) (approving jury instruction in 18 U.S.C. § 242

case); see also United States v. Johnstone, 107 F.3d 200, 209 (3d Cir. 1997).

The government need not show the defendant knew that the Constitution or

other federal law protected the right with which he intended to interfere.

Screws, 325 U.S. at 106 (“[t]he fact that the defendants may not have been

thinking in constitutional terms is not material where their aim was not to

enforce local law but to deprive a citizen of a right and that right was

protected”); United States v. Bradley, 196 F.3d 762, 770 (7th Cir. 1999);

United States v. Walsh, 194 F.3d 37, 52-53 (2d Cir. 1999); United States v. Dise,

763 F.2d 586, 592 (3d Cir. 1985) (“although a defendant may not have

expressed an intention to violate the Constitution, and indeed may not have

recognized that his acts violate the Constitution, he may be found to have

willfully violated federal rights if he acted in reckless disregard of the law”).

       The government has charged that the defendant committed a felony

violation of 18 U.S.C. § 242 because his conduct subjected the victim to bodily

injury. Bodily injury is not defined in 18 U.S.C. § 242. However, Title 18

defines the term bodily injury elsewhere as follows:

       (A)    a cut, abrasion, bruise, burn, or disfigurement;

       (B)    physical pain;



                                        8
  Case 5:24-cr-00011-MW-MJF Document 36 Filed 08/12/24 Page 9 of 15




       (C)    illness;

       (D)    impairment of the function of a bodily member, organ, or
              mental faculty; or

       (E)    any other injury to the body, no matter how temporary.

18 U.S.C. § 831(g)(5); 18 U.S.C. § 1365(h)(4); 18 U.S.C. § 1515(a)(5); 18

U.S.C. § 1864(d)(2). This definition of bodily injury may be applied to a

prosecution under 18 U.S.C. § 242. Myers, 972 F.2d at 1572; see also United

States v. Gonzales, 436 F. 3d 560, 575 (5th Cir. 2006) (abrogated on other

grounds); United States v. Bailey, 405 F.3d 102, 111 (1st Cir. 2005). The

government does not have to prove the defendant intended to cause injury; it

need prove only that bodily injury resulted from the defendant’s acts. United

States v. Hayes, 589 F.2d 811, 820-22 (5th Cir. 1979) (interpreting “death

results” clause of 18 U.S.C. § 242); see also United States v. Marler, 756 F.2d

206, 216 (1st Cir. 1985) (holding that, in a 18 U.S.C. § 242 case in which death

results, the government need not prove that the defendant intended the

victim’s death); cf. United States v. Guillette, 547 F.2d 743, 749 (2nd Cir.

1976) (discussing proximate causation in 18 U.S.C. § 241 civil rights




                                       9
    Case 5:24-cr-00011-MW-MJF Document 36 Filed 08/12/24 Page 10 of 15




conspiracy statute).2

     Count Two – A false statement to a federal agency requires the

government prove:


     (1) The defendant made the statement;

     (2) The statement was false;

     (3) The falsity concerned a material matter;

     (4) The defendant acted willfully, knowing that the statement was false;

        and

     (5) The false statement was made in a matter within the jurisdiction of the

        Federal Bureau of Investigation.

A material false statement is one capable of affecting or influencing the

exercise of a government function. United States v. Boffil-Rivera, 607 F.3d



2
  Federal Rule of Criminal Procedure 31(c)(1) states that a defendant may be found guilty
of “an offense necessarily included in the offense charged.” An offense is a lesser offense
if its elements are a subset of the elements of the charged offense. Schmuck v. United States,
489 U.S. 705, 716, 721 (1989). Rule 31 does not distinguish “between a request for jury
instructions made by the Government and one made by the defendant. In other words, the
language of the Rule suggests that a lesser included offense instruction is available in equal
measure to the defense and to the prosecution.” Id. at 717. See also United States v.
Whitman, 887 F.3d 1240, 1246 (11th Cir. 2018) (“providing an instruction on a lesser-
included offense often aids the prosecution in obtaining a conviction on, at least, one
charge”). It is anticipated the Court will provide the jury an option for a lesser included
offense conviction as to Count One, which would be a violation of the law “without bodily
injury.” See United States v. Farnham, 3:06-cr-00456-RV (N.D. Fla. 2007) at ECF Nos.
48, 49.



                                              10
    Case 5:24-cr-00011-MW-MJF Document 36 Filed 08/12/24 Page 11 of 15




736 (11th Cir. 2010). “The government is not required to prove that the

statement had actual influence. The false statement must simply have the

capacity to impair or pervert the functioning of a government agency.” Id. at

741 (internal citations omitted). Indeed, “[t]he statement does not have to be

relied upon and can be material even if it is ignored and never read.” Id. at

742. As the United States Supreme Court has informed us, a defendant is not

entitled to an “exculpatory no” defense in order to defeat this charge. See

Brogan v. United States, 522 U.S. 398 (1998).

        3. The government anticipates the evidence at trial will reveal that on

the morning of October 3, 2023, at Gulf Correctional Institution, Inmate

Anthony Touchton placed paper over his prison cell window. Initially,

Touchton refused to submit to orders from correctional officers to remove the

paper. However, after a few minutes, Touchton complied and was handcuffed

behind his back by officers.3 The defendant and Officer Ricky Mazingo


3
  A portion of this interaction was recorded on handheld video by correctional officers.
That is, the correctional officers recorded their interaction with Touchton whilst they
warned him that he should comply and remove the paper from his cell window. Since he
did so, and that event ended, this initial video recording is not relevant as to whether or not
sometime later – in a wholly different area of the institution – the defendant assaulted
Touchton. The only purpose for showing this video, if the defense attempts to do so, would
be to paint the victim as troublesome, in violation of the Federal Rules of Evidence. It
would be impermissible character evidence meant to taint the jury into thinking the victim
is a bad person, which would be unfairly prejudicial as it would solely be used to tarnish
the victim by suggesting a propensity to commit bad acts. See ECF No. 27.



                                              11
 Case 5:24-cr-00011-MW-MJF Document 36 Filed 08/12/24 Page 12 of 15




(“Mazingo”) then escorted Touchton to medical triage because the defendant

claimed that Touchton declared a “psych emergency.” There is no evidence

Touchton had done so. Nonetheless, the defendant took Touchton to medical

triage along with Officer Mazingo, where there are no cameras. Once at

medical triage, several employees (to include nurses and a correctional

officer) witnessed the defendant punch Touchton in his face causing him to

fall to the ground. Once on the ground, the defendant punched Touchton again

in the head area and, with the defendant’s boot, stepped on Touchton’s

throat/neck. During this assault, Touchton was compliant with orders and

handcuffed behind his back. Touchton sustained several injuries to his face.

The injuries were demonstrable:




                                     12
    Case 5:24-cr-00011-MW-MJF Document 36 Filed 08/12/24 Page 13 of 15




The assault was immediately reported by the two nurse eyewitnesses in a

series of excited utterances to their supervisor as they are mandatory reporters

of abuse.4

        The defendant was provided his Miranda (and Garrity) rights and

interviewed on October 18, 2023, by members of the Office of the Inspector

General and the Federal Bureau of Investigation. During this interview, the

defendant asserted that he did not punch, kick, step on, choke, or strike

Touchton in any way. Instead, contrary to at least three eyewitnesses, the

defendant claimed Touchton intentionally hit his own head against a wall and

then fell to the ground, which caused his injuries. When Touchton fell to the

ground, the defendant claimed that he merely put his boot on Touchton’s

shoulder and shook him while ordering him to get up from the ground.




4
  Pursuant to Rule 803(2) of the Federal Rules of Evidence, regardless of whether the
declarant is available as a witness, an excited utterance is an exception to the rule against
hearsay. Fed. R. Evid. 803(2). Further, an excited utterance occurs when there is a
“statement relating to a startling event or condition, made while the declarant was under
the stress of excited that it caused.” Id. In this instance, two nurses witnessed the terrifying
and startling assaultive event, they were visibly shaken and under the stress of the event
when reporting it immediately after it occurred, and the content of their statements were
directly related to the event itself. Such an utterance need not be contemporaneous, only
the declarant must be under the stress of the event itself – which was present here. See
United States v. Belfast, 611 F.3d 783, 817 (11th Cir. 2010); United States v. Stepherson,
383 F. App'x 853, 854-55 (11th Cir. 2010).



                                              13
    Case 5:24-cr-00011-MW-MJF Document 36 Filed 08/12/24 Page 14 of 15




        The government anticipates the aforesaid evidence will be admitted

during the instant trial through testifying law enforcement investigators,

witnesses to the incident (and those who the incident was immediately

disclosed to through excited utterances), crime scene and victimization

photography, and documentary exhibits. The defense, without question,

believes the facts to be different than those recited above and has requested

the instant trial by jury.5

                                               Respectfully submitted,

                                               JASON R. COODY
                                               United States Attorney

                                               /s/ David L. Goldberg
                                               David L. Goldberg
                                               Assistant United States Attorney
                                               Member of the Maryland Bar
                                               21 East Garden Street, Suite 400
                                               Pensacola, FL 32502-5675
                                               Phone: (850) 444-4000




5
   It is possible the defendant will exercise his right to testify at trial. The government in
no way desires to interfere with the defendant’s rights, but it does put the defense on notice
that (as provided in discovery) the defendant has prior use of force and other improper
action allegations against him as a correctional officer – some of which were sustained
findings – and the government would anticipate using these to impeach the defendant’s
credibility as a trial witness.



                                              14
 Case 5:24-cr-00011-MW-MJF Document 36 Filed 08/12/24 Page 15 of 15




                                        /s/ Khari A. James
                                        Assistant United States Attorney
                                        Florida Bar No. 1003862
                                        111 North Adams Street, 4th Floor
                                        Tallahassee, FL 32301
                                        khari.james@usdoj.gov
                                        (850) 942-8430




                       CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing has been delivered via the

Court’s electronic filing system to defense counsel, Elizabeth Vallejo, Esq.,

on this the 12th day of August, 2024.

                                              /s/ David L. Goldberg
                                              DAVID L. GOLDBERG
                                              Assistant U.S. Attorney




                                        15
